 




                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

THOMAS H. KRAKAUER,
on behalf of a class of persons,

          Plaintiff,

v.                                           Civil Action No. 1:14-cv-00333-CCE-JEP

DISH NETWORK, L.L.C.,

          Defendant.

          SECOND STIPULATION REGARDING THE CLASS DEFINITION

          The parties, Plaintiff Thomas H. Krakauer and Defendant DISH Network L.L.C.,

    hereby stipulate and agree as follows:

          1.     On September 9, 2015, the Court granted Plaintiff’s Motion for Class

Certification, and certified the following classes: (a) all persons whose telephone numbers

were on the NDNC list for at least 30 days, but who received telemarketing calls from SSN

to promote DISH between May 1, 2010, and August 1, 2011 (the “NDNC class”); and (b)

all persons whose telephone numbers were on the IDNC list of DISH or SSN, but who

received telemarketing calls from SSN to promote DISH between May 1, 2010, and

August 1, 2011 (the “IDNC class”). (ECF No. 111 at 4, 34.)

          2.     On November 14, 2016, based on the parties’ Stipulation Regarding the

Class Definition (ECF No. 239) (the “First Stipulation”), the Court modified this definition

to exclude class members with the telephone numbers on the Stipulated Exclusion List

(ECF No. 239, Ex. A).




 
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        3.     The parties have continued to discuss ways to narrow issues for trial and

facilitate the effective presentation of classwide proof. To that end, Plaintiff has agreed that

certain telephone numbers, and calls to those numbers, should be carved out of the class

based on DISH’s established business relationship defenses. DISH’s Exhibit 31M contains

a list of telephone numbers and telephone calls subject to those defenses. That Exhibit

31M and DISH’s established business relationship defenses were the subject of a motion in

limine. (See ECF Nos. 181, 209 and 233). While DISH’s Exhibit 31M was excluded,

DISH’s established business relationship defenses, as supported by DISH’s Exhibit 32,

have not been excluded.

        4.     Because the class has received notice of class certification under Federal

Rule of Civil Procedure 23(c)(2)(B), class members with those telephone numbers will

receive notice of this action. The list of telephone numbers affected by the Second

Stipulation – the Second Stipulated Exclusion List – is attached hereto as Exhibit 1, in the

final column (Ex. Ma-c) of the list. The remaining columns are those numbers carved out

via the First Stipulation. In other words, the Second Stipulated Exclusion List consists of

those numbers carved out by the First Stipulation and the Second Stipulation.

        5.     Below are the defense challenges the Plaintiff does not contest, including

both those challenges addressed in the parties’ First Stipulation, and the EBR challenge

addressed in Exhibit 31M (see bolded section below).

    Exhibit          Name of Exhibit                                          Numbers/
    No.                                                                       Calls
    31B              Different Listing Names Associated with the              47 numbers/
                     Same Number (in MicroBilt data)                          140 calls



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    31E              Phone Numbers Where Line Type Designation        115 numbers/
                     Is Business or Government at Least Once in       302 calls
                     LexisNexis Data
    31F              Records from MicroBilt Data Where the Listing    52 numbers/
                     Name Appears to Be a Business, Based on Key      174 calls
                     Words as Listed.
    31G              a – Numbers Where Line Type Designation is       5 numbers/
                     Always “Unknown for all Records Associated       15 calls
                     with the Number in the LexisNexis Data, and
                     Listing Name in MicroBilt Data Appears to Be a
                     Business by Key Words Listed

                     b – Numbers Where Line Type Designation is       7 numbers/
                     “Residential” at Least Once in LexisNexis Data   27 calls
                     and Listing Name in MicroBilt Data Appears to
                     Be a Business by Key Words Listed
    31I              Numbers Where the Listing Type Designation in    125 numbers/
                     LexisNexis Is Residential During Only the        344 calls
                     Period Before May 2010 and/or After August
                     2011; is “Unknown” for the Period Between
                     May 2010 and August 2011; and Different
                     Individuals Are Associated with the Same
                     Number Across Those Two Time Periods
    31M              a – Numbers from Five9 Data in Which the         1,816 numbers/
                     Number is Associated With a DISH Customer        5,144 calls
                     at the Time of the Call

                     b – Numbers from Five9 Data in Which the
                     Call Was Made to a Number Associated with
                     a DISH Former Customer within 18 Months
                     of the Disconnection Date

                     c – Five ( Call Records Made within 3 Months
                     (calculated as 90 days) of the Disconnection
                     Date for Any Customer that Purportedly Had
                     Applied and Later Canceled Activation
                     (Based on DISH Customer Data)


    31N              a – Records from Five9Data of Numbers for        603 numbers/
                     Which a Retailer IDNC Request Was Made, but      1605 calls
                     for Which the Number is Associated with a
                     DISH Customer with Activation Date


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                 Subsequent to the IDNC Request, and the
                 Number Was First Called After the DISH
                 Activation Date
                                                                     113 numbers/
                 b – Records from Five9 Data of Numbers for          299 calls
                 Which an Internal IDNC Request was Made, but
                 for Which the Number is Associated with a
                 DISH Customer with Activation Date
                 Subsequent to the IDNC Request, and the
                 Number was First Called After the DISH
                 Activation Date
    31P          a – Calls to Numbers that Do Not Appear on any      9 numbers/
                 DNC or IDNC List, but for which the “Phone 1”       33 calls
                 Field Associated with that Number Was
                 Populated with a Number that Appears on a
                 DNC or IDNC List and was Subsequently Called
                                                                     11 numbers/
                 b – Calls to Numbers that Do Not Appear on any      56 calls
                 DNC or IDNC List, but for which the “Phone 2”
                 Field Associated with Number was Populated
                 with a Number that Appears on a DNC or IDNC
                 List and was Subsequently Called
    31Q          Five9 Call Records in which the First Call to the   18 numbers/
                 Number Contains Comments that Suggest that          95 calls
                 the Recipient Requested a Call Back or Appears
                 to Agree to be Called Back
    31R          a – Five9 Call Records of Numbers for Which         71 numbers/
                 Some Calls Were Made Before the Number Was          280 calls
                 Added to the IDNC Retailer List and for Which
                 Some Calls Were Made at Most 30 Days After
                 the Retailer IDNC Request

                 b – Five9 Call Records of Numbers for Which         23 numbers/
                 Some Calls Were Made Before the Number Was          66 calls
                 Added to the IDNC Internal List and for Which
                 Some Calls Were Made at Most 30 Days After
                 the Internal IDNC Request




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    31S              a – Five9 Call Records of Numbers for Which             104 numbers/
                     All or Some of the Calls Were Made Before or            367 calls
                     More than 5 Years After the Retailer IDNC
                     Request for that Number

                    b – Five9 Call Records of Numbers for Which             434 numbers/
                    All or Some of the Calls Were Made Before or            1196 calls
                    More than 5 Years After the Internal IDNC
                    Request for that Number


    TOTAL            [Accounting for overlap and duplicates]                 2,906 numbers/
                                                                             8,304 calls


          6.   The Court has the authority to modify a class definition at any time before

final judgment. Fed. R. Civ. P. 23(c)(1)(c) (“An order that grants or denied class certification

may be altered or amended before final judgment.”); General Tel. Co. of Southwest v.

Falcon, 457 U.S. 147, 160 (1982) (“Even after a certification order is entered, the judge

remains free to modify it in the light of subsequent developments in the litigation.”); Coopers

& Lybrand v. Livesay, 437 U.S. 463, 469 n. 11 (1978) (describing class certification order as

“inherently tentative”).

          7.   The parties request that the Court enter an order modifying the class definition

to exclude those persons whose telephone numbers appear on the attached Second Stipulated

Exclusion List. Plaintiff will, within thirty days after an order modifying the class definition

is entered, send postcard notice in accordance with the class notice order (Doc. 153) to those

persons previously provided with class notice with respect to those telephone numbers

explaining that they are excluded from the class. The parties agree that this stipulation does

not waive any right to challenge any ruling in this action, including but not limited to the



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class certification order and the class notice order. DISH reserves its right to seek to admit

evidence relating to this stipulation at trial; Plaintiff reserves his right to oppose the

admission of that evidence.

Dated: December 5, 2016
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